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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


JOHN DOE                                                  CIVIL ACTION NO. 19-11403

VERSUS                                                    SECTION “R”
                                                          DISTRICT JUDGE VANCE
THE ADMINISTRATORS OF THE
TULANE EDUCATIONAL FUND                                   MAG. DIV. (1)
                                                          MAG. JUDGE VAN MEERVELD

                                             ORDER

         Considering the foregoing Joint Motion to Dismiss With Prejudice filed by Plaintiff, John

Doe, and Defendant, The Administrators of the Tulane Educational Fund; accordingly

         IT IS HEREBY ORDERED that the Joint Motion to Dismiss With Prejudice be, and the

same is hereby GRANTED, and it is further ordered that this proceeding be, and is hereby

dismissed with prejudice, each party to bear their own costs and attorneys’ fees, as agreed to by

the parties.

                                       17th day of December, 2019.
         New Orleans, Louisiana, this _______


                                                     ____________________________________
                                                     UNITED STATES DISTRICT JUDGE




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